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Attorney for the Plaintiffs and Counter-Defendants,
MISS GLOBAL ORGANIZATION, LLC and

VAN PHAM

UNITED STATES DISTRICT COURT
CENTRAL DIS'I`RICT OF CALIFORNIA
SOUTHERN DIVISION

MISS GLOBAL ORGANIZATION,
LLC, a Califomia limited liability
company and VAN PHAM, an
individual,

Plaintiff,
v.

SOKHUNTEA MAK, a/k/a TEA
MAK, an individual; SCOTT
WARE, an individual; and DOES l-
10, Inclusive,_

Defendants.

 

SO`KHUNTEK MAK, a/k/a TEA
MAK, an individual; SCOTT
WARE an individual; and DOES l-
10, Inclusive,

Counterclaim Plaintiffs,
v.

MISS GLOBAL ORGANIZATION,
LLC, a Califomia limited liability
pomp_any and VAN PHAM, an
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Counterclaim Defendants.

 

 

Case No.: 8:17-cv-2223 DOC (KESX)

STATEMENT OF
UNCONTROVERTED FACTS AND
CONCLUSIONS OF LAW

Hearin Date: April 8, 2019
Time: :30 a.m.

Courtroom: 9D

Judge: Hon. David O. Carter

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

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ase 8:17-CV-02223-DOC-KES Document 93-9 Filed 03/12/19 Page 2 of 8 Page |D #:

Pursuant to Central District of California Local Rule 56-1, and in support of
Plaintiffs’ Motion for Summary Judgment, or in the Alternative, For an Order
Treating Specif`red F acts as Established, Plaintiff MISS GLOBAL
ORGANIZATION, LLC and Plaintiff VAN PHAM (“Plaintiffs”) sets forth the

following Statement of Uncontroverted Facts and Conclusion of Law:

1. On November 19, 2011, Plaintiff Van Pham filed a federal trademark
application for the stylized mark: G MISS GLOBAL, serial no. 85477157, that

matured into registration no. 4219443 (shown below);

 

2. The application referenced in paragraph one (1) was filed pursuant to
15 U.S.C. §1051(b), giving Plaintiff Van Pham a constructive priority date of
November 19, 2011 for the stylized mark G MISS GLOBAL;

3. Neither Defendant SOKHUNTEA MAK (“Tea Mak”) nor Defendant
SCOTT WARE ever used the mark G MISS GLOBAL or any other MISS
GLOBAL formative mark in commerce prior to November 19, 2011.

4. To this day, PlaintiffVan Pham has never sold, assigned, or

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

 

 

 

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transferred his federally registered mark G MISS GLOBAL, registration no.

4219443;
5. On March 21, 2012, Plaintiff Van Pham formed Plaintiff Miss Global

Organization, LLC naming himself as the sole member.

6. To this day, Plaintiff Van Pham has never sold, assigned, or
transferred any portion of Miss Global Organization, LLC;

7. On March 15, 201 l, Van Pham contacted Mr. Vu, the website
designer, to begin designing and developing a website for my beauty pageant.

8. On April 11, 2011, Van Pham personally purchased the Internet
domain name www.missglobal.com from HugeDomains.com for the price of
$1,395.00 (the “Miss Global Website”).

9. Van Pham has never sold, assigned, or transferred the Internet domain,
www.missglobal.com, to anyone, at any time. There are no documents in existence
that reflect any transfer, assignment, or sale, or divestment otherwise, of Van
Pham’s ownership of the Internet domain, www.missglobal.com.

10. On Apri124, 2011, while searching for a logo design more consistent
with Van Pham’s vision for MGO, he retained the services of 48HoursLogo to
develop and finalize the logo for his Miss Global pageant.

ll. On or around March 21, 2012, Van Pham retained the services of
LegalZoom to form PlaintiffMiss Global Organization, LLC in the State of
California.

12. On Apri125, 2012, Van Pham obtained from the IRS a F ederal EIN
number for Plaintiff Miss Global.

13. On May 10, 2012, Van Pham filed a Statement of Information for
PlaintiffMiss Global with the California Secretary of State, identifying himself,

Van Pham, as the sole manager.

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

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Miss Global Organization, LLC, Van Pham personally organized and directed the
first annual Miss Global beauty pageant.

15. For the first annual Miss Global pageant, a program was developed,
printed, and distributed Wherein Van Pham was prominently identified as the
“President & Founder” of Miss Global.

16. Van Pham has consistently maintained his position as the founding
manager and owner of MGO to this day, There are no documents reflecting any
transfer, assignment or sale, or otherwise, of his ownership interest in MGO,

17. On May 8, 2012, Van Pham obtained a USPTO Trademark Certificate
for the word mark “MISS GLOBAL” with Registration No. 4,140,556, which
affirms that Van Pham first used “MISS GLOBAL” as early as May 2, 2011.

18. On October 2, 2012, Van Pham obtained a USPTO Trademark
Certificate for the design mark “G MISS GLOBAL” with Registration No.
4,219,443, which affirms that Van Pham first used “G MISS GLOBAL” as early as
May 7, 2012.

19. On or around January 2013, Van Pham requested Sokhuntea Mak a/k/z
Tea Mak (“Mak”), a seasonable worker for MGO, to create a Facebook page for
MGO, specifically, as located at Facebook.com/officiahnissglobal (the “MGO
Facebook Page”).

20. At all times, Van Pham was personally an administrator of the MGO
Facebook Page and maintained access and control over the MGO Facebook Page,
with the ability to edit the MGO Facebook Page.

21. At some point on or about March 29, 2018, Mak a former seasonal

worker of MGO, took steps to wrongfully commander control of the MGO

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

14. In 2013, by and through Van Pham’s wholly owned company, Plaintiff

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Facebook Page, including causing Van Pham to be improperly removed as an
administrator of the MGO Facebook Page.

22. Since commandeering the MGO Facebook page, Mak has changed the
URL to Facebook/missglobalorganization which is identical to the new URL
Plaintiffs used for MGO, www.missglobalorganization.com, since Mak
commandeered MGO’s original URL, www.missglobal.com.

23. Mak is no longer an employee of MGO or an authorized agent of
MGO,

24. Currently, Van Pham should be the only manager and admin of the
MGO Facebook Page.

25, Van Pham email address is vanmpham@yahoo.com, and his personal
Facebook page is Facebook.com/VanMPham. No other email address or Facebook
account should be associated with the MGO Facebook Page.

26. Van Pham has always been the only admin for MGO’s Instagram page
as located at Instagram.com/missglobalofficial, which is currently linked to the
MGO Facebook page at Facebook.com/officialmissglobal (now
facebook.com/missglobalorganization). Because the page is linked, Mak has been
able to falsely modify the website and biography information on the
Instagram.com/missglobalofficial.

27. Van Pham personally crowned the first pageant winner.

28. Since 2013, Miss Global has crowned six pageant winners.

29. In 2019, forty six contestants around the world competed for the Miss
Global crown.

30. Van Pham discovered 48hourslogo by searching online for logo

creation companies.

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

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31. 48hourslogo is a crowdsourcing website which permits a user to post a
job and thereafter select from several unique submissions

32. 48hourslogo’s website describes their service as follows: “[i]t is
simply the best way to create a custom logo online because you get multiple
designers competing on your project which maximize creativity and selections.”

33. Afcer creating a user account with 48hourslogo, Van Pham submitted a
logo design project for a “Miss Global” logo at 48hourslogo.com.

34. On April 24, 2011, 48hourslogo sent me an electronic mail messages
thanking Van Pham for submitting the logo design project at 48hourslogo.com and
confirming receipt of payment for the “Miss Global logo project.”

35. On Apri126, 2011, 48hourslogo sent Van Pham another email,
notifying him that his “Miss Global logo project” had concluded and instructing
him to proceed to my project page with 48hourslogo to select up to three (3)
designers to continue with my design revisions.

36. Both the Apri124, 2011 email and the April 26, 2011 email from
48hourslogo are addressed to Van M. Pham at his email vanmpham@yahoo.com.

37. Following the completion of the “Miss Global” design project,
48hourslogo sent him a link containing the final logo package for “Miss Global”.

38. Specifically, on Apri127, 2011, 48hourslogo sent Van Pham an email
to notify him that the registered logo designer he selected, “ZenBlackMamba”
(“Mr. Vizmonte”), had uploaded the final logo package for “Miss Global”, and to

 

instruct him to download the file and confirm its content.

39. Again, the Apri127, 2011 email is addressed to Van M. Pham, at him
email, vanmpham@yahoo.com.

40. After completing my requested modifications, “ZenBlackMamba”
(“Mr. Vizmonte”) sent him the following logo (the “Miss Global Logo”):

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

 

 

ase 8:17-cV-02223-DOC-KES Document 93-9 Filed 03/12/19 Page 6 of 8 Page |D #:1102

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41. Thereafter, Van Pham proceeded to pay the remaining balance to Mr.
Vizmonte via PayPal for Miss Global Logo.

42. Pursuant to 48hourslogo’s express terms and conditions, Van Pham
own the rights to the Miss Global Logo created by 48hourslogo at my direction and
as paid for by him.

43. Since its creation, Van Pham has used the Miss Global Logo in
connection with each and every Miss Global event, and has further displayed the
Miss Global Logo across various social media platforms in connection with Miss
Global’s operations

44. Defendant/Counterclaimant Sokhuntea Mak a/k/a Tea Mak (“Mak” or
“Defendant”) did not assist Van Pham or participate in any way in the creation and
development of the Miss Global Logo.

45. Mak’s claim that she created, developed, and/or owns the Miss Global
Logo is knowingly false.

STATEMENT OF UNCONTROVERTED FACTS
AND CONCLUSIONS OF LAW

 

 

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46. Mak has knowingly edited the Miss Global Organization Wikipedia
page multiple times to falsely list herself as the founder and CEO ofMGO. Each
time Van Pham correct the page she edits the page again.

47. Mak has intentionally disseminated false and damaging information
about Plaintiffs when she received inquiries about Plaintiffs’ next Miss Global
beauty pageant, recently held in Manila, Philippines from February 1-12, 2019.

48. Mak’s unlawful behavior, including misrepresenting ownership of
MGO, infringing Plaintiff’s intellectual property, unlawfully commandeering and
controlling Plaintiffs’ social media accounts and URLs, and otherwise interfering
with the operation of Plaintiffs’ business has caused several instances of actual
confusion among contestant and national directors/licensees, and has caused actual
damage to Plaintiffs.

49. Van Pham registered his copyright in the Miss Global Logo with the
United States Copyright Office.

 

Dated: March ll, 2019

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AND CONCLUSIONS OF LAW

 

